 Case: 2:20-cv-06490-ALM-KAJ Doc #: 11 Filed: 12/06/21 Page: 1 of 1 PAGEID #: 20




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

RONALD DWAYNE BIBB,                              :
                                                 :
               Plaintiff,                        :   Case No. 2:20-cv-6490
                                                 :
       v.                                        :   Chief Judge Algenon L. Marbley
                                                 :
AT&T CORP., et al.,                              :   Magistrate Judge Kimberly A. Jolson
                                                 :
               Defendants.                       :


                    ORDER ON REPORT AND RECOMMENDATION

       On October 27, 2021, the United States Magistrate Judge issued a Report and

Recommendation (ECF No. 10) that the Court dismiss this case under Federal Rule of Civil

Procedure 41(b) for failure to prosecute and under 28 U.S.C. § 1915(e) as frivolous. The Report

and Recommendation informed the parties of their right to object within fourteen days. It also

specifically advised the parties of the rights they would waive by failing to object, including the

right to de novo review by the District Judge. (ECF No. 10 at 6–7). No objections have been filed,

and the deadline lapsed on November 10, 2021.

       Accordingly, the Court ADOPTS the Magistrate Judge’s Report and Recommendation.

This case is DISMISSED for failure to prosecute pursuant to Rule 41(b) and as frivolous under

Section 1915(e).

       IT IS SO ORDERED.


                                                     ALGENON L. MARBLEY
                                                     UNITED STATES DISTRICT JUDGE

DATED: December 6, 2021




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